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                         Exhibit B

                    Herriman Declaration
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )    Case No. 23-11069 (CTG)
                                                                     )
                              Debtors.                               )    (Jointly Administered)
                                                                     )

                              DECLARATION OF
                       JAY HERRIMAN IN SUPPORT OF THE
            DEBTORS’ FIRST OMNIBUS (NON-SUBSTANTIVE) OBJECTION
          TO CLAIMS PURSUANT TO BANKRUPTCY CODE SECTIONS 502(B)
       AND 503(B), BANKRUPTCY RULES 3003 AND 3007 AND LOCAL RULE 3007-1

         I, Jay Herriman, hereby declare under penalty of perjury:

             1.     I am a Managing Director at Alvarez and Marsal North America, LLC (“A&M”),

financial advisors to the above-captioned debtors and debtors in possession (collectively,

the “Debtors”). I submit this declaration (the “Declaration”) in support of the relief requested in

the Debtors’ First Omnibus (Non-Substantive) Objection to Claims Pursuant to Bankruptcy Code

Sections 502(b) and 503(b), Bankruptcy Rules 3003 and 3007, and Local Rule 3007-1

(the “Objection”). 2

             2.     In my current position with A&M as an advisor to the Debtors, I am generally

familiar with the Debtors’ day-to-day operations, financing arrangements, business affairs,

Schedules and Statements, and Books and Records. Such documents reflect, among other

things, the Debtors’ liabilities and the amounts owed to their creditors as of the Petition Date.



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used in this Declaration but not defined herein have the meanings given to such terms in the
      Objection.
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Except as otherwise stated herein, all facts set forth herein are based upon my personal

knowledge of the Debtors’ operations and finances, information learned from my review of

relevant documents, or information received from other members of the Debtors’ management,

the Debtors’ advisors, including my team at A&M, or employees of the Debtors. I have read

the Objection filed contemporaneously herewith and to the best of my knowledge, information,

and belief, the assertions made in the Objection are accurate. If I were called upon to testify, I

could and would testify competently to the facts set forth herein. I am authorized to submit this

Declaration on behalf of the Debtors.

I.     Amended Claims.

       3.      Considerable resources and time have been expended in reviewing and reconciling

the Proofs of Claim filed or pending against the Debtors in these cases. The Debtors have

identified 388 Amended Claims listed on Schedule 1 annexed to Exhibit A to the Objection, in

the aggregate claimed amount of approximately $148 million. To the best of my knowledge,

information, and belief, and insofar as I have been able to ascertain after reasonable inquiry, the

Amended Claims have each been amended and superseded by a subsequently filed Proof of Claim,

as reflected in the column labeled “Remaining Claims.” The Amended Claims remain on the

claims register only as a technicality and may be eliminated without affecting such claimants’

underlying claims. Failure to disallow and expunge the Amended Claims could potentially result

in these claimants receiving an unwarranted double recovery on both the Amended Claim and the

Remaining Claim, to the detriment of other creditors and parties in interest. As such, I believe that

disallowance and expungement of the Amended Claims on the terms set forth in the Objection and

Schedule 1 annexed to Exhibit A is appropriate.




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II.    Duplicate Claims.

       4.      Considerable resources and time have been expended in reviewing and reconciling

the Proofs of Claim filed or pending against the Debtors in these cases. The Debtors have

identified 43 Duplicate Claims listed on Schedule 2 annexed to Exhibit A to the Objection, in the

aggregate claimed amount of approximately $3.7 billion.          To the best of my knowledge,

information, and belief, and insofar as I have been able to ascertain after reasonable inquiry, the

Duplicate Claims are exact duplicates of other Proofs of Claim filed by or on behalf of the same

claimant in respect of the same liabilities. Failure to disallow the Duplicate Claims will result in

double recoveries to the claimants on the same obligation or debt. Moreover, disallowance of

these claims will enable the claims register to reflect more accurately the Proofs of Claim asserted

against the Debtors. As such, I believe that disallowance and expungement of the Duplicate

Claims on the terms set forth in the Objection and Schedule 2 annexed to Exhibit A to the

Objection is appropriate.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.


 Dated: January 12, 2024                        /s/ Jay Herriman
                                                Jay Herriman
                                                Managing Director
                                                Alvarez & Marsal North America, LLC




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